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                                                                                       FILED
                                                                                    April 05, 2023
                                                                                CLERK, U.S. DISTRICT COURT
                                    United States District Court                WESTERN DISTRICT OF TEXAS
                                     Western District of Texas
                                         Austin Division                                      SO
                                                                             BY: ________________________________
                                                                                                     DEPUTY
 United States of America,
    Plaintiff,

     v.                                                                  No. 1:23-CR-062-RP

 Genotox Laboratories Ltd.
    Defendant.

          Joint Motion to Continue, Exclude Speedy Trial Time, and Approve DPA
   The United States and Genotox Laboratories Ltd. (“Genotox”) jointly submit this motion to

request that the Court continue this matter for a period of approximately 18 months, exclude time

under the Speedy Trial Act, and approve a deferred prosecution agreement (“DPA”) entered into

by the parties.

                                           Background

   The United States filed a one-count Information charging Genotox with a violation of the

Anti-Kickback Statute (42 U.S.C. § 1320a-7(b)). (Dkt. No. 1). On March 21, 2023, the parties

entered into a deferred prosecution agreement (“DPA”) to resolve the government’s criminal

case. A true, correct, and complete copy of the DPA is attached as Exhibit A. Among its key

provisions, the government has agreed to defer prosecution of this matter for eighteen months.

Genotox has agreed to accept responsibility for the acts detailed in the Statement of Relevant

Facts, and further waive its right to indictment, Speedy Trial rights, venue, and any statute of

limitations defenses. The government has further agreed to move to dismiss the Information

within ten calendar days of the expiration of the DPA. To give effect to the DPA and to permit

Genotox to demonstrate its compliance with the DPA’s terms, the parties jointly request a

continuance of this matter, an exclusion of time under the Speedy Trial Act, and approval of the

DPA as a proper basis upon which to exclude such time.

   The Speedy Trial Act provides, in pertinent part, that the Court shall exclude: “Any period of

delay during which prosecution is deferred by the attorney for the Government pursuant to

written agreement with the defendant, with the approval of the court, for the purpose of allowing

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the defendant to demonstrate his good conduct.” 18 U.S.C. § 3161(h)(2). Pursuant to

§ 3161(h)(2), the parties respectfully request that this Court approve the agreement and that the

prosecution of Genotox be deferred for a period of approximately eighteen months. The parties

recommend that the Court set a status conference ten days after the expiration of the eighteen-

month term. By that time, the government will have moved to dismiss the Information or the

parties will provide the Court with further information on the status of the prosecution.

   The delay and exclusion of Speedy Trial time will allow Genotox to demonstrate its good

conduct and would thus serve the ends of justice and outweigh the best interest of the public and
Genotox in a speedy trial. 18 U.S.C. § 3161(h)(7).

   Genotox joins this motion and expressly waives any and all rights to a speedy trial pursuant

to the Sixth Amendment to the United States Constitution, 18 U.S.C. § 3161, Federal Rule of

Criminal Procedure 48(b), and any applicable Local Rules of the United States District Court for

the Western District of Texas for the term of the DPA.

   The parties have also attached signed waivers of indictment (Exhibit B) and arraignment

(Exhibit C). The parties thus agree that no court appearance is needed before the entry of the

Court’s order. The parties respectfully request that the Court approve those waivers as well.




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                                       Respectfully submitted,

                                       Jaime Esparza
                                       United States Attorney

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                                 Certificate of Service

   I certify that on April 4, 2023, I electronically filed this document with the Clerk of
Court and served a copy via email on Counsel for Defendant Matthew Diggs, Esq..




                                                       /s/ G. Karthik Srinivasan
                                                       G. Karthik Srinivasan
                                                       Assistant United States Attorney




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